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                               UNITED STATES BANKRUPTCY COURT

                                  EASTERN DISTRICT OF VIRGINIA

      IN RE: John Edward Small, Jr.                                 Case Number 10‐37875

                              NOTICE OF TRANSFER OF CLAIM NO. 10

      The undersigned hereby gives notice of the assignment and transfer of the above filed
      claim and submits the following information:

      Name and address of transferor (original claimant):

      PHH Mortgage Corporation
      2001 Bishops Gate Blvd,
      Attn: Mail Stop SV‐01
      Mount Laurel, New Jersey 08054



      Name and address of transferee:

      DTA Solutions LLC
      8313 Whitley Rd. Suite A
      Watauga, TX 76148



      Amount of claim being transferred $ 26,951.10

      This transfer is unconditional.



      This 13th day of December, 2012.



      /s/ Amy Delacerna
